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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY


                                               )
SYDNEY LIM on behalf of themselves
 And all others similarly situated             )
                                               ) Civil Action No.: 2:24-CV-04778-MEF-AME
                        Plaintiff              )
                                               )
          v.                                   )
                                               )
 AMITY ONE RELIEF                              )
                                               )
                        Defendant              )
                                               )

DEFENDANT AMITY ONE’S ANSWER AND AFFIRMATIVE DEFENSES TO
PLAINTIFF’S CLASS ACTION COMPLAINT
Defendant Amity One Relief, by and through its undersigned counsel, respectfully submits this,
its Answer and Affirmative Defenses to Plaintiffs Class Action Complaint and denies each and
every allegation in the complaint unless expressly admitted or otherwise qualified as follows:
1. Denied. The allegations contained in this paragraph are conclusions of law to which
no responsive pleading is required. To the extent that any response is required the
allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

2. Denied. The allegations contained in this paragraph are conclusions of law to which
no responsive pleading is required. To the extent that any response is required the
allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

3. Denied. The allegations contained in this paragraph are conclusions of law to which
no responsive pleading is required. To the extent that any response is required the
allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

4. Denied. The allegations contained in this paragraph are conclusions of law to which
no responsive pleading is required. To the extent that any response is required the
allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

5. Denied. It is denied that Defendant made unsolicited calls to Plaintiff. On the contrary,
Plaintiff gave consent to any and all communications set forth in this complaint.
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6. Denied. The allegations contained in this paragraphs are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
7. Denied. The allegations contained in this paragraphs are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
8. Denied. The allegations contained in this paragraphs are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
9. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.

10. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.


11. Admitted
12. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
13. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

14. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

15. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

16. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
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17. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

18. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
19. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
20. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
21. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
22. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
23. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
24. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.

25. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.
26. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.


27. Denied. After reasonable investigation, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the averments contained in these
paragraphs and therefore denies the same and demands strict proof thereof at trial.
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28.Denied. Plaintiff gave consent for any and all calls via internet on or about January
3, 2024 at 18:25.00 through remote IP address 174.XXX.X.XXX on a IOS operating
system, Apple Safari Browser.
29. Denied. Plaintiff contacted Defendant and gave consent for any and all calls via
internet on or about January 3, 2024 at 18:25.00 through remote IP address
174.XXX.X.XXX on a IOS operating system, Apple Safari Browser.
30. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
31. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
32. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
33. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
34. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
35. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
36. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
37. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
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38. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
39. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
40. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.
41. Denied. Reasonable investigation is continuing. Defendant currently lacks
sufficient knowledge or information to form a belief as to the truth of the averments
contained in this paragraph and therefore denies the same and demands strict proof
thereof at trial.

42. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

43. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

44. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.

45.Denied

46.Denied

47.Denied

48.Denied

49.Denied

50. Denied

51. Denied
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52. Denied
53. Denied
54. Defendant incorporates by reference the responses to the previous paragraphs as
though fully set forth herein.
55. Denied. Any and all communication to Plaintiff was consented to by Plaintiff. There
is no violation of the TCPA.
56. Denied. Any and all communication to Plaintiff was consented to by Plaintiff. There
is no violation of the TCPA.
57. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
58. Denied. The allegations contained in this paragraph are conclusions of law to
which no responsive pleading is required. To the extent that any response is required
the allegations are each and all specifically denied. Strict proof thereof is demanded at
time of trial.
59. Defendant incorporates by reference the responses to the previous paragraphs as
though fully set forth herein.
60. Denied. Any and all communication to Plaintiff was consented to by Plaintiff. There
is no violation of the TCPA.
61. Any and all communication to Plaintiff was consented to by Plaintiff. There is no
violation of the TCPA.
62. Any and all communication to Plaintiff was consented to by Plaintiff. There is no
violation of the TCPA. Defendant affirmatively denies that plaintiffs and the proposed
class are entitled to any relief whatsoever.
                               AFFIRMATIVE DEFENSES
   1. Plaintiff’s complaint fails to state a cause of action upon which relief can be
      granted.
   2. Plaintiff lacks standing to pursue this action.
   3. Each Plaintiff's causes of action is barred because plaintiff gave their express
      written consent, invitation and/or permission to receive communications
      alleged.
   4. Plaintiff cannot satisfy the requirements for maintaining a class action under
      Federal Rule of Civil Procedure 23.
   5. Plaintiff is not entitled to represent a class because her claims failed to meet the
      requirements for class certification to the extent that:
      a. Plaintiff and or members of the proposed classes lack standing;
      b. Plaintiff cannot demonstrate that the proposed class is so numerous that
          joiner of all members would be impracticable;
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      c. Plaintiff cannot demonstrate that there are questions of law or fact common
          to the members of the proposed class;
      d. Plaintiff cannot demonstrate that she will fairly and adequately protect the
          interests of the members of the proposed class;
      e. Plaintiff cannot demonstrate that prosecuting separate actions by individual
          class members would create a risk of inconsistent or varying adjudications.
      f. Plaintiff cannot demonstrate that her claim is typical of those of other
          members of the proposed class;
      g. Plaintiff cannot demonstrate that questions of law or fact predominate over
          any questions affecting only individual members of the proposed class; and
      h. Plaintiff cannot demonstrate that a class action is superior to other available
          methods for fairly and efficiently adjudicating the controversies.
   6. Any alleged calls to plaintiff are not “unwanted”.
   7. Defendant has acted in good faith and has not willfully or knowingly violated
      any provision, subsection or regulation under the TCPA.
   8. Plaintiff’s claims are barred to the extent that she consented to receive the
      alleged communications.
   9. Defendant reserves the right to raise any other defenses allowed by law as
      evidence is discovered in this case.

      WHEREFORE, Defendant respectfully requests that this Honorable Court:
      1. Deny Certification of the proposed class:
      2. Dismiss Plaintiffs Complaint with prejudice,
      3. Enter judgment against Plaintiffs and in favor of Defendant;
      4. Award costs and reasonable attorneys’ fees against the Plaintiff;
      5. Grant Defendant such other further relief as the Court deems just and
         proper.


Dated: May 22, 2024                            Respectfully submitted,
                                               /s/Nicholas M. Fausto
                                               Nicholas M. Fausto, Esquire
                                               NJ Bar No: 014171982
                                               1600 Locust Street
                                               Philadelphia, PA 10103
                                               Nfausto@comcast.net
                                               Telephone 856-552-0411
                                               Facsimile 888-798-5808

                                               Attorney for Defendant Amity One
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